Case 2:24-cv-00121 Oe COVER SHER ET Page 1 of 1 PagelD: 9

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Maria Ramos Ramirez Empire Management Group LLC, Kaleh Mostafa, and Theresa

Sanchez Mostafa

JS 44 (Rev. 07/16)

(b) County of Residence of First Listed Plaintiff | Westchester County
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attorneys (Firm Name, Address, Email and Telephone Number) Attorneys (If Known)
Pechman Law Group PLLC
488 Madison Ave, 17th Floor

New York, NY 10022

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
1M 1 U.S. Government 43 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 01 © 1 Incorporated or Principal Place qgo4 94
of Business In This State
| 2. U.S. Government 1 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os O5
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a oO 3 O 3. Foreign Nation O06 16
Foreign Country
IV. NATURE OF SUIT (Place an “X”’ in One Box Only)
L CONTRACT __ oe Ua es TORTS FORFEITURE/PENALTY BANKRUPTCY _ : OTHER STATUTES ]
1 110 Insurance PERSONAL INJURY PERSONAL INJURY {0 625 Drug Related Seizure 1 422 Appeal 28 USC 158 1 375 False Claims Act
7 120 Marine & 310 Airplane 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 376 Qui Tam (31 USC
1 130 Miller Act © 315 Airplane Product Product Liability 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability © 367 Health Care/ 400 State Reapportionment
[J 150 Recovery of Overpayment | 7 320 Assault, Libel & Pharmaceutical | 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights © 430 Banks and Banking
[J 151 Medicare Act [ 330 Federal Employers’ Product Liability 830 Patent 1 450 Commerce
[1 152 Recovery of Defaulted Liability J 368 Asbestos Personal © 840 Trademark 460 Deportation
Student Loans J 340 Marine Injury Product 470 Racketeer Influenced and
(Excludes Veterans) (J 345 Marine Product Liability LABOR i Corrupt Organizations
J 153 Recovery of Overpayment Liability PERSONAL PROPERTY 710 Fair Labor Standards 7 861 HIA (1395ff) © 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle 370 Other Fraud Act 862 Black Lung (923) 1 490 Cable/Sat TV
J 160 Stockholders’ Suits © 355 Motor Vehicle 371 Truth in Lending 1 720 Labor/Management 863 DIWC/DIWW (405(g)) | O 850 Securities/Commodities/
J 190 Other Contract Product Liability 380 Other Personal Relations 864 SSID Title XVI Exchange
J 195 Contract Product Liability | 360 Other Personal Property Damage 1 740 Railway Labor Act 1 865 RSI (405(g)) | 890 Other Statutory Actions
J 196 Franchise Injury 1 385 Property Damage 751 Family and Medical © 891 Agricultural Acts
(7 362 Personal Injury - Product Liability Leave Act 4 893 Environmental Matters
Medical Malpractice 790 Other Labor Litigation 895 Freedom of Information
| REAL PROPERTY | CIVIL. RIGHTS _| PRISONER PETITIONS |1 791 Employee Retirement FEDERAL TAX SUITS Act
210 Land Condemnation & 440 Other Civil Rights Habeas Corpus: Income Security Act 870 Taxes (U.S. Plaintiff 1 896 Arbitration
| 220 Foreclosure J 441 Voting 463 Alien Detainee or Defendant) 899 Administrative Procedure
[ 230 Rent Lease & Ejectment 442 Employment [ 510 Motions to Vacate 871 IRS—Third Party Act/Review or Appeal of
240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
(J 245 Tort Product Liability Accommodations O 530 General [| 950 Constitutionality of
[J 290 All Other Real Property 445 Amer. w/Disabilities - | 535 Death Penalty ___ IMMIGRATION State Statutes
Employment Other: G 462 Naturalization Application
© 446 Amer. w/Disabilities -] J 540 Mandamus & Other | 465 Other Immigration
Other 550 Civil Rights Actions
448 Education 1 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)

M1 Original 2 Removed from O 3 Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite e ie a ae Tt vyhich Be nS ine oO not cite jurisdictional statutes unless diversity):
alr Labor otandards Act, 0.0. et seq.
VI. CAUSE OF ACTION Brief description of cause:
Claim for unpaid wages.
VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. _ JURY DEMAND:  WYes No
VIII. RELATED CASE(S)
IF ANY (See instructions): JUDGE ‘p DOCKET NUMBER
DATE \SIGNATURE OF RNPY SPRECORD
01/08/2024
FOR OFFICE USE ONLY oe
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
